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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,                                                   No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                           ORDER RE FORTHCOMING
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                     OFFER OF PROOF AND
                                                                         13   OTTOMOTTO LLC; and OTTO                                      RESPONSE THERETO
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          In its forthcoming offer of proof, Waymo shall please be sure to specifically explain the
                                                                         17   practical details of how it will implement its offer of proof, including the names of specific
                                                                         18   sponsoring witnesses and how they will overcome hearsay objections.
                                                                         19          In addition, to evaluate how much, if any, of the Richard Jacobs story should be laid
                                                                         20   before the jury, the judge requests that both sides address in their forthcoming submissions the
                                                                         21   exact extent to which any truthful information in the Jacobs materials was not already known to
                                                                         22   Waymo. For example, it seems that the ephemeral messaging issue was generally true but was
                                                                         23   already known to Waymo. On the other hand, it seems that the non-attributable devices issue
                                                                         24   was not previously known but was a problem confined to SSG and MA. True?
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                                                                         26          IT IS SO ORDERED.
                                                                         27
                                                                         28   Dated: January 3, 2018.
                                                                                                                                        WILLIAM ALSUP
                                                                                                                                        UNITED STATES DISTRICT JUDGE
